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                                 UNITED STATES BANKRUPTCY COURT

                                   EASTERN DISTRICT OF LOUISIANA

    IN RE:                                              §
                                                        §          CASE NO. 20-10846
    THE ROMAN CATHOLIC CHURCH                           §
    OF THE ARCHDIOCESE OF NEW                           §          SECTION “A”
    ORLEANS,                                            §
                                                        §          CHAPTER 11
                            1
                   DEBTOR.                              §
                                                        §


         OMNIBUS NOTICE OF EXPEDITED HEARING FOR FIRST DAY MOTIONS

               PLEASE TAKE NOTICE that the above-captioned debtor and debtor-in-possession (the

   “Debtor”) filed the following Expedited First Day Motions (collectively, the “Motions”) on May

   1, 2020:


          i)        Expedited Motion for an Order Authorizing the Debtor to File Portions of the
                    Schedules and SOFA, the Master Creditors Mailing Matrix and Other
                    Pleadings and Documents Under Seal [Docket No. 4]

         ii)        Expedited Motion for Interim and Final Orders (a) Authorizing Postpetition
                    Use of Cash Collateral, (b) Granting Adequate Protection to Lender, (c)
                    Modifying the Automatic Stay, (d) Scheduling a Final Hearing, and (e)
                    Granting Related Relief [Docket No. 5]

        iii)        Expedited Motion for Interim and Final Orders (a) Authorizing the Debtor to
                    Continue Insurance Coverage Entered into Prepetition and Satisfy Prepetition
                    Obligations Related Thereto, (b) Authorizing the Debtor to Renew, Amend,
                    Supplement, Extend, or Purchase Insurance Policies, and (c) Scheduling a
                    Final Hearing [Docket No. 6]

        iv)         Debtor’s Expedited Motion for (I) an Order Authorizing but Not Directing, the
                    Debtor to Pay Certain Prepetition (A) Wages, Salaries, and Other

               1
             The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s
   principal place of business is located at 7887 Walmsley Ave., New Orleans, LA come the above-
   captioned debtor and debtor-in-possession (the “Debtor”)70125.



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                  Compensation, (B) Employee Medical and Similar Benefits, and
                  (II) Authorizing, and Directing the Applicable Banks and Financial Institutions
                  to Honor and Pay All Checks and Transfers Associated with the Foregoing
                  [Docket No. 7]

         v)       Expedited Motion for Order (A) Prohibiting Utilities from Altering, Refusing
                  or Discontinuing Services to, or Discriminating Against, the Debtor on Account
                  of Prepetition Amounts Due, and (B) Establishing Procedures for Adequate
                  Assurance for Determining Requests, and (C) Scheduling a Final Hearing
                  [Docket No. 8]

        vi)       Expedited Motion for Entry of (A) Interim and Final Orders (i) Authorizing the
                  Maintenance of Existing Accounts, Continued Use of Existing Cash
                  Management System, and Continued Use of Existing Business Forms, (ii)
                  Waiving the Requirements of Section 345(b) of the Bankruptcy Code, and (iii)
                  Granting Related Relief, and (B) an Order Scheduling a Final Hearing [Docket
                  No. 9]

       vii)       Expedited Application to Employ Donlin Recano as Claims, Noticing and
                  Solicitation Agent for the Debtor Nunc Pro Tunc to the Petition Date [Docket
                  No. 10]

              PLEASE TAKE NOTICE that a telephonic hearing on the Motions will be held before

   the Honorable Judge Meredith S. Grabill of the United States Bankruptcy Court for the Eastern

   District of Louisiana, Section A, on May 4, 2020 at 1:00 PM. The dial-in information for Section

   A is 1-888-684-8852; Access Code 9318283.

              PLEASE TAKE FURTHER NOTICE that if you object to the relief requested in the

   Motions, or you believe that expedited consideration is not warranted, you must make your

   objection at the telephonic hearing or file a written objection before the hearing. Otherwise, the

   Court may treat the Motions as unopposed and grant the relief requested.

              YOU ARE INVITED TO APPEAR AND PARTICIPATE AS YOU DEEM FIT.

   Dated: May 1, 2020.




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                                        Respectfully submitted,




                                        _/s/ Mark A. Mintz________________
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                                        PROPOSED ATTORNEYS FOR
                                        THE ROMAN CATHOLIC CHURCH OF
                                        THE ARCHDIOCESE OF NEW ORLEANS




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